     Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 1 of 39




        IN THE UNITED STATES DISTRICT COURT FOR THE
             MIDDLE DISTRICT OF PENNSYLVANIA


REPRESENTATIVES DAWN KEEFER,
TIMOTHY BONNER, BARRY JOZWIAK,                  Civil Case No. 1:24-CV-00147
BARBARA GLEIM, JOSEPH HAMM,
WENDY FINK, ROBERT KAUFFMAN,                         Judge Jennifer P. Wilson
STEPHANIE BOROWICZ, DONALD
(BUD) COOK, PAUL (MIKE) JONES,
JOSEPH D'ORSIE, CHARITY KRUPA,
LESLIE ROSSI, DAVID ZIMMERMAN,
ROBERT LEADBETER, DANIEL MOUL,
THOMAS JONES, DAVID MALONEY,               AMENDED COMPLAINT
TIMOTHY TWARDZIK, DAVID ROWE,
JOANNE STEHR, AARON BERSTINE,
KATHY RAPP, JILL COOPER, MARLA
BROWN, MARK GILLEN AND
SENATOR CRIS DUSH— ALL
PENNSYLVANIA LEGISLATORS,

                Plaintiffs,

v.

JOSEPH R. BIDEN, IN HIS OFFICIAL
CAPACITY AS THE PRESIDENT OF
THE UNITED STATES, OR HIS
SUCCESSOR; UNITED STATES; U.S.
DEPARTMENT OF AGRICULTURE;
TOM VILSACK, IN HIS OFFICIAL
CAPACITY AS SECRETARY OF
AGRICULTURE; U.S. DEPARTMENT OF
HEALTH AND HUMAN SERVICES;
XAVIER BECERRA, IN HIS OFFICIAL
CAPACITY AS SECRETARY OF HEALTH
AND HUMAN SERVICES; U.S.
DEPARTMENT OF STATE; ANTONY
BLINKEN, IN HIS OFFICIAL CAPACITY
AS SECRETARY OF STATE; U.S.
DEPARTMENT OF HOUSING AND
URBAN DEVELOPMENT; MARCIA
FUDGE, IN HER OFFICIAL CAPACITY
AS SECRETARY OF HOUSING AND
         Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 2 of 39




 URBAN DEVELOPMENT; U.S.
 DEPARTMENT OF ENERGY; JENNIFER
 GRANHOLM, IN HER OFFICIAL
 CAPACITY AS SECRETARY OF
 ENERGY; U.S. DEPARTMENT OF
 EDUCATION; DR. MIGUEL CARDONA,
 IN HIS OFFICIAL CAPACITY AS
 SECRETARY OF EDUCATION; JOSH
 SHAPIRO, IN HIS OFFICIAL CAPACITY
 AS GOVERNOR OF PENNSYLVANIA,
 OR HIS SUCCESSOR; AL SCHMIDT, IN
 HIS OFFICIAL CAPACITY AS
 SECRETARY OF THE
 COMMONWEALTH, OR HIS
 SUCCESSOR; JONATHAN MARKS, IN
 HIS OFFICIAL CAPACITY AS THE
 DEPUTY SECRETARY FOR ELECTIONS
 AND COMMISSIONS, OR HIS
 SUCCESSOR,

                Defendants.



       Plaintiffs, by and through their counsel, respectfully allege and represent the following

for their Complaint.

       1.     The Plaintiffs seek prospective declaratory and injunctive relief to establish

their federal rights under the Electors Clause and Elections Clause of the U.S. Constitution

against the above-named Defendants, who are federal and state executive branch officials, to

exercise the Plaintiffs’ Constitutional rights to be participants in the law-making process

regulating federal elections for President and Congress and to seek elective office through an

electoral process free from negligence, fraud, and abuse.

       2.     The Defendants have each unconstitutionally excluded Plaintiffs from the law-

making process regulating elections and harmed Plaintiffs in their role as candidates by failing



                                                2
         Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 3 of 39



to adhere to the Pennsylvania Legislature’s (“Legislature”) regulatory regime for voter

registration.

                                JURISDICTION AND VENUE

        3.      This action arises under the Constitution of the laws of the United States.

        4.      This Court has jurisdiction pursuant to Article III of the United States

Constitution, 5 U.S.C. § 701, et seq., 28 U.S.C. § 1331, 28 U.S.C. § 1343(a)(3), 28 U.S.C. §

1346(a)(2), and 42 U.S.C. § 1983.

        5.      Plaintiffs’ claims for declaratory, injunctive and other relief are authorized by 5

U.S.C. § 706, 28 U.S.C. §2201 and 2202, by Rules 57 and 65 of the Federal Rules of Civil

Procedure, and by the general legal and equitable powers of this Court.

        6.      Venue is proper under 28 U.S.C. § 1391(b) because all events giving rise to

Plaintiffs’ claims against Defendants occurred in the state of Pennsylvania.

                                              PARTIES

        7.      The above-named plaintiffs are all Pennsylvania Legislators. All Plaintiffs are

elected officials who represent constituents within their respective legislative districts, and

each is responsible, on behalf of their constituents, for the drafting or passage of laws for

enactment, including election laws affecting elections of federal officials.

        8.      Plaintiffs are candidates for office in the upcoming 2024 general election.

        9.      Plaintiffs are also citizens, voters and taxpayers in Pennsylvania.

        10.     As state legislators, plaintiffs have particular civil rights that are specifically

granted to only 253 “real persons” in the Commonwealth of Pennsylvania.

        11.     Defendant Joseph R. Biden is the President of the United States. He is the

chief executive officer for the United States of America. As such, he is responsible for

                                                   3
           Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 4 of 39



implementing and enforcing the laws written by Congress.

          12.   The United States is also a defendant.

          13.   Defendant Department of Agriculture (“DOA”) is a Department of the

Executive Branch of the U.S. Government and is a federal cabinet agency within the meaning

of 5 U.S.C. § 552(f).

          14.   Defendant Tom Vilsack is the Secretary of the DOA. He is responsible for

implementing the President’s Executive Orders. He is sued in his official capacity.

          15.   Defendant Department of Health and Human Services (“DHS”) is a

Department of the Executive Branch of the U.S. Government and is a federal cabinet agency

within the meaning of 5 U.S.C. § 552(f).

          16.   Defendant Xavier Becerra is the Secretary of DHS. He is responsible for

implementing the President’s Executive Orders. He is sued in his official capacity.

          17.   Defendant Department of Housing and Urban Development (“HUD”) is a

Department of the Executive Branch of the U.S. Government and is a federal cabinet agency

within the meaning of 5 U.S.C. § 552(f).

          18.   Defendant Antony Blinken is the Secretary of State. He is responsible for

implementing the President’s Executive Orders. He is sued in his official capacity.

          19.   Defendant Department of State (“DOS”) is a Department of the Executive

Branch of the United States and is a federal cabinet agency within the meaning of 5 U.S.C. §

552(f).

          20.   Defendant Marcia Fudge is the Secretary of HUD. She is responsible for

implementing the President’s Executive Orders. She is sued in her official capacity.

          21.   Defendant Department of Energy (“DOE”) is a Department of the Executive

                                                4
         Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 5 of 39



Branch of the U.S. Government and is a federal cabinet agency within the meaning of 5

U.S.C. § 552(f).

        22.    Defendant Jennifer Granholm is the Secretary of the Department of Energy.

She is responsible for implementing the President’s Executive Orders. She is sued in her

official capacity.

        23.    Defendant Department of Education (“DOEd”) is a Department of the

Executive Branch of the U.S. Government and is a federal cabinet agency within the meaning

of 5 U.S.C. § 552(f).

        24.    Defendant Dr. Miguel Cardona is the Secretary of DOEd. He is responsible

for implementing the President’s Executive Orders. He is sued in his official capacity.

        25.    Defendant Josh Shapiro is the Governor of Pennsylvania. He is the chief

executive officer for the State of Pennsylvania with the duty to execute and enforce the law.

        26.    Defendant Al Schmidt is the Secretary of State. He is designated as the

Commonwealth’s Chief Election Official and thus has certain duties imposed upon him by

the election code which are established by the legislature.

        27.    Defendant Jonathan Marks is the Deputy Secretary for Elections and

Commissions.

        28.    Defendant Al Schmidt and Defendant Jonathan Marks are both within the

executive office of the Pennsylvania Department of State.

        29.    The above-named Defendants or their successors are sued in their official

capacity only. The above-named Defendants are not sued for damages, but for prospective

declaratory and injunctive relief only.




                                                5
           Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 6 of 39



                                  FACTUAL ALLEGATIONS

          30.   The state legislature is assigned particular authority by the Federal

Constitution’s Electors Clause and Elections Clause to regulate federal elections.

          31.   The Electors Clause of the U.S. Constitution, Article II, Section 1, Clause 2,

states:

                Each State shall appoint, in such Manner as the Legislature thereof may direct,
                a Number of Electors, equal to the whole Number of Senators and
                Representatives to which the State may be entitled in the Congress; but no
                Senator or Representative, or person holding an Office of Trust or Profit
                under the United States shall be appointed an Elector.

          32.   The election for President and Vice President will be held on November 5,

2024.

          33.   At the Constitutional Convention of 1787, one of the most important decisions

made was the incorporation of the Electors Clause which involved the appointment of

electors to elect the President and Vice President.

          34.   The Constitutional Convention delegates adopted the Electors Clause late in

the Convention, having reached no agreement regarding direct election by the people for

president and vice-president.

          35.   The Electors Clause was a compromise between selecting the President

pursuant to a popular election or leaving Congress to determine the President.

          36.   Justice Joseph Story, in his Commentaries on the Constitution of the United States,

explained that the Framers viewed having an electoral college select the President rather than

Congress would commit the decision “to persons, selected for that sole purpose . . . instead

of persons, selected for the general purposes of legislation,” --Joseph Story, Commentaries on

the Constitution 3: § 1450 (1833).

                                                   6
         Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 7 of 39



        37.    The Electors Clause of the U.S. Constitution is a direct grant of federal

authority to state legislatures to determine the manner of conducting presidential selection in

their respective states.

        38.    The Electors Clause is similar to the U.S. Elections Clause in they both grant a

particular federal power to state legislatures.

        39.    The Elections Clause authorizes the state legislatures to regulate times, places

and manners of Congressional elections, but subject to Congressional enactments:

        The Times, Places and Manner of holding Elections for Senators and
        Representatives, shall be prescribed in each State by the Legislature thereof;
        but the Congress may at any time by Law make or alter such Regulations,
        except as to the Places of chusing Senators.

U.S. Const., Art. I, Sec. 4, Cl. 1.

        40.    The Electors Clause, applying only to presidential elections, does not make the

federal authority granted to state legislatures subject to Congressional enactments like the

Elections Clause does. Accordingly, the Electors Clause grants state legislatures the vested

plenary federal authority to enact statutes governing presidential elections.

        41.    Under the Elections and Electors Clauses, the Pennsylvania Legislature is the

entity assigned particular authority to govern the selection of Electors and the time, place,

and manner of Representative and Senate elections.

        42.    These Clauses of the Constitution cede primary jurisdiction over the time,

place and manner of elections to state legislatures; absent specific acts of Congress to “make

or alter such Regulations” a state legislature’s decisions control the election process.

        43.    Further, under the Elections Clause—but not the Electors Clause—Congress

can only enact laws preempting state provisions regulating Congressional elections.



                                                  7
           Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 8 of 39



          44.    When Congress “makes or alters” a state election regime, such as with the

enactment of the National Voter Registration Act, these alterations are construed in a manner

no broader than necessary to implement the express will of Congress.

          45.    Accordingly, it is the both the duty and the prerogative of the Legislature to

provide a complete code for federal elections, including regulations relating to registration of

voters.

          46.    Importantly, the Pennsylvania Constitution, Article II, Section 1, provides that

the legislative power is vested in the Senate and House of Representatives which are two

associations of elected legislators who enact laws subject to the Governor’s veto.

          47.    Article VII, Section 1 of the PA Constitution provides:

          Every citizen 21 years of age, possessing the following qualifications, shall be entitled
          to vote at all elections subject, however, to such laws requiring and regulating the
          registration of electors as the General Assembly may enact.

          48.    Article VII, Section 1 of the Pennsylvania Constitution clearly places the duty

of passing laws involving the registration of electors on the General Assembly.

          49.    Therefore, under the Electors Clause, the Elections Clause and the

Pennsylvania Constitution, the Pennsylvania state legislators, as part of two associations

called the senate and the house of representatives, respectively, may enact laws, subject to the

Governor’s veto, to regulate the times, places, and manner of Presidential and Congressional

elections.

          50.    Thus, Plaintiffs, as individual state legislators, have federal rights under the

Elections Clause and Electors Clause to oversee and participate in making legislative

decisions regulating the times, places, and manner of federal elections.

          51.    Pursuant to this authority, the Legislature has enacted a process whereby

                                                   8
         Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 9 of 39



citizens must register to vote prior to casting a ballot in an election.

       52.     Voter registration requirements are legitimate, content neutral methods of

protecting the electoral system from fraud and abuse.

       53.     The integrity of the voter registration process in turn supports the integrity of

elections themselves.

       54.     A voter registration process which is uncorrupted by falsely obtained, forged,

or otherwise manipulated registrations protects elections from abuse.

       55.     The state has a compelling interest in preventing negligence, fraud, or abuse

and to that end courts have upheld statutes affecting third party registration efforts by people

and entities not employed by state governments.

       56.     Regulations affecting third party registration organizations have been upheld

due to concerns over negligence, fraud, or violation of a registrant’s privacy.

       57.     Similarly, the employment of out-of-state residents by third party organizations

is subject to state regulations due to concerns that the individual may not be easily subject to

the state’s subpoena power.

       58.     Pennsylvania’s voter registration regime sets out the following:

               1) An otherwise qualified voter may register in one of four ways (25 Pa. C.S.A.
                  § 1321):
                          a. In person registration before the election commissions, polls,
                             schools, or municipal buildings;
                          b. Registration when applying for driver’s license with the
                             Pennsylvania Department of Transportation;
                          c. Registration by mail; and,
                          d. Through government agencies.
               2) When a registration takes place at the Department of Transportation (25
                  Pa. C.S.A. § 1323) or offices providing public assistance, the clerk of an
                  orphans’ court, marriage license bureau, offices offering services to persons
                  with disabilities, and armed forces recruiting centers (25 Pa. C.S.A. § 1325)
                  the following applies to the staff at those offices:

                                                 9
        Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 10 of 39



                         a. They shall not seek to influence an applicant's political
                             preference or party registration or display political preference or
                             party allegiance;
                         b. They shall not make a statement to an applicant or take an action
                             the purpose or effect of which is to discourage the applicant
                             from registering to vote; and,
                         c. Agency employees who violate this subsection shall be removed
                             from employment, provided that the agency at its discretion may
                             impose a penalty of suspension without pay for at least 30 days,
                             but not more than 120 days, if it finds that the violation does not
                             warrant termination.
              3) Any person who assists in the completion of the registration application
                 shall sign the application and indicate the person's address. In the case of
                 those registering under sections 1323 (relating to application with driver's
                 license application) and 1325 (relating to government agencies), the person
                 providing assistance shall insert the person's initials or employee or agent
                 identification number on a separate or detachable portion of the application
                 or computer data file. (25 Pa. C.S.A. § 1327)

       59.     As to third party registration activity, the Legislature recently enacted specific

legislation in 2022—referred to here as Senate Bill 982.

       60.     Senate Bill 982 was designed, in part, to ban outside, third party financial

support for Pennsylvania elections and to eliminate the influence of nongovernmental third

party organizations from elections in the Commonwealth.

       61.     Senator Phillips-Hill, in introducing Senate Bill 982 said, “No matter how well

intended, such outside support has the potential to unduly influence election procedures,

policies, staffing, and purchasing, which in turn may unfairly alter election outcomes. Even

more importantly, it stands to erode voter confidence in a pillar of our beloved democracy.”

Seehttps://www.legis.state.pa.us//cfdocs/Legis/CSM/showMemoPublic.cfm?chamber=S&

SPick=202 10&cosponId=36370 (last visited: Jan. 20, 2024).

       62.     Senate Bill 982 amended the Pennsylvania Election Code with the following

language (Pa. St. 25 P.S. § 2607):



                                                10
        Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 11 of 39



               (a) The cost and expense to State and local governments relating to the
                   registration of voters and the preparation, administration and conduct of
                   elections in this Commonwealth shall be funded only upon lawful
                   appropriation of the Federal, State and local governments, and the source
                   of funding shall be limited to money derived from taxes, fees and other
                   sources of public revenue.

               (b) State and local governments, including their public officers, public officials,
                   employees and agents, acting in their official capacity, may not solicit, apply
                   for, enter into a contract for or receive or expend gifts, donations, grants or
                   funding from any individual, business, organization, trust, foundation, or
                   any nongovernmental entity for the registration of voters or the
                   preparation, administration or conducting of an election in this
                   Commonwealth.

               (c) This section shall not be construed to apply to the collection of fees
                   authorized by law or to the donation or use of:

                  (i) a location for voting purposes;
                  (ii) services that are provided without remuneration; or
                  (iii) goods that have a nominal value of less than one hundred ($100)
                        dollars.


       63.     Senate Bill 982 governs the activity of third-party voter registration groups in

Pennsylvania, and it does not authorize the third-party efforts encouraged by Executive

Order 14019.

       64.     Together with the rest of Pennsylvania’s voter registration regulations, Senate

Bill 982 controls the ability to conduct voter registration efforts in Pennsylvania.

       65.     To ensure this separation and prevent outside influence, the Pennsylvania

legislature has specifically stated that any costs incurred by the government relating to the

registration of voters “shall” be funded “only” through lawful appropriations. Thus, ensuring

the oversight of the Legislature. No funds have been appropriated to support President

Biden's Executive Order 14019. Therefore, it is a violation of Pennsylvania law.

       66.     Senate Bill 982 prohibits public officials from entering into agreements with

                                               11
        Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 12 of 39



third party entities for the registration of voters or the administration of elections.

                           DEFENDANTS’ UNLAWFUL ACTS

       67.      The Defendants have violated Plaintiffs’ rights by unconstitutionally frustrating

the voter registration regime established by the Legislature.

                                      Federal Defendants

       68.      First, on March 7, 2021, President Biden signed Executive Order 14019 on

“Promoting Access to Voting.” (Exhibits H-I)

       69.      Executive Order 14019 is not legally authorized by any Congressional

enactment.

        70.     Executive Order 14019 requires all federal agencies to develop a plan to

increase voter registration, and increase voter participation, or get out the vote (hereinafter

GOTV) efforts.

        71.     The mandate placed upon federal agencies by Executive Order 14019 has

substantially influenced the operation of Pennsylvania elections.

        72.     Based on information and belief, the U.S. Department of Health and Human

Services has implemented its voter registration program within the Commonwealth of

Pennsylvania.

        73.     Based on information and belief, Pennsylvania residents have utilized the U.S.

Department of Health and Human Services’ voter registration program to register to vote

within the Commonwealth.

        74.     In 2022, in response to EO 14019, the U.S. Department of Health and Human

Services announced that federal health centers located across the country, including in the

state of Pennsylvania, “have discretion to participate in activities, including voter registration

                                                12
        Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 13 of 39



activities, that are outside the scope of the Health Center Program project, so long as the

health centers' efforts in carrying out the Health Center Program project are not impaired.”

HHS, Voter Registration and Health Centers (See https://bphc.hrsa.gov/compliance/scope-

project/voter-requirements)(last visited: Jan. 20, 2024). “Such voter registration activities may

include making available voter registration materials to patients, encouraging patients to

register to vote, assisting patients with completing registration forms, sending completed

forms to the election authorities, providing voter registration materials in waiting rooms, and

allowing private, non-partisan organizations to conduct on-site voter registration.” Id.

       75.      Based on information and belief, the U.S. Department of Housing and Urban

Development has implemented its voter registration program within the Commonwealth of

Pennsylvania.

       76.      Based on information and belief, Pennsylvania residents have utilized the U.S.

Department of Housing and Urban Development’s voter registration program to register to

vote within the Commonwealth.

       77.      In response to EO 14019, the U.S. Department of Housing and Urban

Development likewise instructed more than 3000 public housing authorities, which manage

approximately 1.2 million public housing units, across the country, including in the state of

Pennsylvania, to run voter registration drives in those units. See Fred Lucas, HUD Pushes

Voter Registration Drives in Public Housing Under Biden's Executive Order, The Daily

Signal (2022), https://www.dailysignal.com/2022/04/27/hud-pushes-voter-registration-

drives-in-public-housing-under-bidens-executive-order/ (last visited: Jan. 20, 2024). Federal

housing officials also advised the local agencies on how to apply to become a “voter

registration agency under the National Voter Registration Act,” and how to set up drop boxes

                                               13
        Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 14 of 39



for ballots on the premises. Id.

        78.    Based on information and belief, the U.S. Department of Education has

implemented its voter registration program within the Commonwealth of Pennsylvania.

        79.    Based on information and belief, Pennsylvania residents have utilized the U.S.

Department of Education’s voter registration program to register to vote within the

Commonwealth.

        80.    In response to EO 14019, the U.S. Department of Education, which last year

sent a “dear colleague” letter to universities, including those located in the state of

Pennsylvania, directing them to use Federal Work Study funds “to support voter registration

activities,” whether they occur “on or off-campus.” Federal Student Aid, (GEN-22-05)

Requirements for Distribution of Voter Registration Forms,

https://fsapartners.ed.gov/knowledge-center/library/dear-colleague-letters/2022-04-

21/requirements-distribution-voter-registration-forms (last visited: Jan. 20, 2024).

        81.    Based on information and belief, the U.S. Department of Agriculture has

implemented its voter registration program within the Commonwealth of Pennsylvania.

        82.    Based on information and belief, Pennsylvania residents have utilized the U.S.

Department of Agriculture’s voter registration program to register to vote within the

Commonwealth.

        83.    In response to EO 14019, the U.S. Department of Agriculture has issued

letters to state agencies administering SNAP and WIC programs, including those located in

the state of Pennsylvania, instructing them to carry out voter-registration activities with

federal funds. See The White House, https://www.whitehouse.gov/briefing-

room/statements-releases/2022/03/24/fact-sheet-biden-harris-administration-releases-

                                                14
        Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 15 of 39



report-on-native-american-voting-rights/ (last visited: Jan. 20, 2024).

        84.    Additionally, in response to EO 14019, the U.S. General Services

Administration has announced that federally-owned buildings, including those located in the

state of Pennsylvania, are now available for voter registration drives by third-party

organizations, regardless of whether the agency or agencies that own or operate out of those

buildings have received an NVRA designation. See GSA, Federal Meeting Facilities: Use by federal

agencies, https://www.gsa.gov/policy- regulations/policy/real-property-policy-division-

overview/federal-meeting-facilities#vote (last visited: Jan. 20, 2024).

        85.    Executive Order 14019 directs all non-independent executive agencies to

engage in voter registration and to solicit and facilitate third-party organizations to conduct

voter registration on agency premises, including those located in the state of Pennsylvania, so

it is certain that other agencies are carrying out similar efforts without disclosing their

unlawful activities to the public or to the Pennsylvania state legislature.

        86.    Executive Order 14019 requires all federal agencies to identify and partner with

specified partisan third party organizations chosen by the President Biden administration

whose names and roles are not transparent but are willfully withheld from the public.

        87.    Under EO 14019, taxpayer resources can be used to support the efforts of the

third-party partners to do voter registration drives and GOTV activities.

        88.    Executive Order 14019 requires agencies to distribute voter registration and

vote-by- mail ballot application forms.

        89.    Executive Order 14019 directs agencies to assist applicants in completing voter

registration and vote-by-mail ballot application forms.

        90.    Executive Order 14019 directs agencies to solicit third-party organizations and

                                                15
        Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 16 of 39



directs state officials to provide voter registration services on agency premises.

        91.    Typically, private parties — including plaintiffs, campaigns, political parties,

and organizations — conduct voter registration drives as acknowledged and regulated by

federal campaign finance laws.

        92.    Federal campaign finance laws apply to private parties' voter registration

activities. 11 C.F.R. § 100.133.

        93.    Voter registration drives and GOTV are a federally recognized private

function, not a government function.

        94.    But, President Biden's Executive Order 14019 requires agencies to develop

plans for government- sponsored voter registration drives run by federal agencies and

undisclosed third-party organizations.

        95.    The U.S. Election Assistance Commission has issued an advisory opinion that

states that election officials are prohibited from using federal funds to conduct “voter

registration drives.”

        Neither Section 101 nor 251 funds may be used to conduct voter registration
        drives or get out the vote efforts; including advertising for the event, setting up
        booths, and paying salaries of employees who register new voters.

U.S. Election Assistance Commission Funding Advisory Opinion FAO-08-005. (Exhibit J)

        96.    Since FY 2006, Office of Inspector General (OIG) audits of HAVA grants

have resulted in 19 recommendations and just over $1 million dollars in questioned costs

related to government-sponsored voter registration drives and GOTV activities.

        97.    Mississippi expended HAVA funds for GOTV and voter registration forms,

which are not allowable under the award's terms and conditions or HAVA. (Exhibit K)

        98.    Florida charged salaries and benefits for poll workers serving at voter

                                                16
        Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 17 of 39



registration drives to HAVA grants, resulting in $139,056 in questioned costs. (Exhibit L)

       99.    South Dakota spent $1,474 in HAVA funds for letters containing a sample

voter registration form to be distributed to K-12 students for voter education. Students in

grades K-12 are not eligible voters, making the expense unallowable. (Exhibit M)

       100.   Colorado charged $315,830 to its HAVA grant for contractual services

associated with a voter registration campaign, which included only an incidental educational

component. As a result, the charges were questioned. (Exhibit N)

       101.   Further, federal campaign finance laws are premised on voter registration

drives being conducted by private parties, not the government. See 11 C.F.R. Section

100.133.

       102.   All agency action in conformity with Executive Order 14019 is without

congressional delegation or funding, and conducted merely by executive fiat.

       103.   As such, all federal agency actions in conformity with Executive Order 14019

are unauthorized by law.

       104.   Further, actions taken pursuant to Executive Order 14019 do not comply with

Pennsylvania law, including that all election expenses be funded by federal, state or local

appropriations, and undermine the integrity of Pennsylvania’s elections. (Exhibit G)

       105.   The President of the United States does not have the authority to regulate the

time, place, and manner of elections in Pennsylvania.

       106.   The President, the U.S. Department of Agriculture, the U.S. Department of

Energy, the U.S. Department of Health and Human Services, the U.S. Department of

Housing and Urban Development, the U.S. Department of Energy, the U.S. Department of

Education, the Governor, the Department of State through the Secretary of the

                                               17
        Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 18 of 39



Commonwealth and the Deputy Secretary for Elections and Commissions, have repeatedly

violated and continue to violate the Electors Clause and Elections Clause by usurping the

rights of the state legislators by changing Pennsylvania election laws via Executive Orders,

edicts, and directives without the state legislators’ participation.

        107.      No aspect of Pennsylvania’s voter registration regime permits the President or

the Executive Branch of the federal government—with the sole exception of voter

registration efforts in military recruiting offices—to participate in or engage with voter

registration in the Commonwealth of Pennsylvania.

        108.      Accordingly, Executive Order 14019 is invalid within the Commonwealth of

Pennsylvania and federal agencies acting in conformity with it are in violation of Pennsylvania

law and the Constitution.

                                         State Defendants

                                      Governor Josh Shapiro

        109.      On September 19, 2023, Governor Shapiro announced that he was unilaterally

implementing automatic voter registration in Pennsylvania. (Exhibit F) See:

https://www.governor.pa.gov/newsroom/governor-shapiro-implements-automatic-voter-

registration-in-pennsylvania-joining-bipartisan-group-of-states-that-have-taken-

commonsense-step- to-make-voter-registration-more-streamlined-and-secure/ (last visited:

Jan. 20, 2024).

       110.       Beginning on September 19, 2023, Commonwealth residents obtaining new or

renewed driver licenses and ID cards have been, and continue to be automatically registered

to vote by the Pennsylvania Department of Transportation unless they opt out of doing so.

       111.       Governor Shapiro’s alteration to the voter registration process by gubernatorial

                                                 18
        Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 19 of 39



edict was unsupported by Pennsylvania law and runs afoul of powers proscribed to

Pennsylvania legislators under both the U.S. Constitution and the Pennsylvania Constitution.

       112.    As mentioned above, the U.S. Constitution (under the Elections Clause, the

Electors Clause, and the 10th Amendment) and the Pennsylvania Constitution, taken together

place plenary regulatory authority over both federal and state elections within the

commonwealth in the state legislature, subject only to Congressional enactment as to time,

place, manner.

       113.    The Pennsylvania Constitution provides that legislative power is vested in the

senate and the house of representatives. Pa. Const., Art. II, Sec. 1.

       114.    The Pennsylvania Constitution vests the legislative power in the state senate

and the house of representatives to regulate the registration of electors in Pennsylvania. Pa.

Const., Art. VII, Sec. 1. Therefore, the Pennsylvania legislature, comprised of the senate and

house of representatives, has the exclusive authority to enact laws, subject to the Governor’s

veto to regulate the manner in which voters are registered to vote.

       115.    As such, the lawful extent of Governor Shapiro’s authority over the regulatory

schema of elections in Pennsylvania starts and stops with the powers delegated to his office

by duly enacted commonwealth legislation.

        116.   Pennsylvania law regarding voter registration is clear. “An individual qualified

to register to vote...may apply to register...” 25 Pa.C.S.A. § 1321.

        117.   An application, by definition, is a formal request to an authority. It requires an

overt action by the person.

        118.   According to Merriam-Webster Dictionary, the term “apply” is defined as “to

make an appeal or request especially in the form of a written application.”

                                                19
        Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 20 of 39



       119.   Although not specifically defined in the Election Code, the General Assembly

has defined the term “application” in other contexts. Specifically, in 7 Pa.C.S.A. § 6102, the

term application is defined as “a request[.]”

       120.    Policy decisions regarding how one registers to vote in Pennsylvania have been

clearly addressed by the Pennsylvania legislature:

               An individual qualified to register to vote under section 1301(a) (relating
               to qualifications to register) may apply to register as follows:
                      (1)     Under section 1322 (relating to in-person voter
                              registration).
                      (2)     Under section 1323 (relating to application with driver’s
                              license application).
                      (3)     Under section 1324 (relating to application by mail).
                      (4)     Under section 1325 (relating to government agencies).

25 Pa.C.S.A. § 1321.

       121.    25 Pa.C.S.A. § 1323(a)(1) provides:

               The Department of Transportation shall provide for simultaneous
               application for voter registration in conjunction with the process under
               75 Pa.C.S. § 1510. An application under this subsection shall serve as an
               application to register to vote unless the applicant fails to sign the voter
               registration application. The secretary has the primary responsibility for
               implementing and enforcing the driver’s license voter registration system
               created under this section. The secretary, in consultation with the
               Secretary of Transportation, may promulgate regulations for
               implementing this section.

       122.   Section 1321 clearly requires an application for the registration process,

whether relating to in-person voter registration, application with driver's license application,

or application by mail.

       123.   Through Section 1323, the Pennsylvania legislature appointed “the secretary [of

transportation]” as the party responsible for “implementing and enforcing” the regulatory

schema that the legislature “created under this section.”


                                                20
         Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 21 of 39



        124.   The process “relating to application with driver's license application” is defined

in §1323(b) which states:

               1)      The Department of Transportation shall provide for an
                       application for voter registration as part of a driver's license
                       application.
               2)      The format of the driver's license/voter registration application
                       shall be determined and prescribed by the secretary and the
                       Secretary of Transportation.
               3)      The voter registration application portion of the application shall
                       contain all the requirements of an official voter registration
                       application specified in section 1327 (relating to preparation and
                       distribution of applications).

25 Pa.C.S.A. § 1323(b).

       125.    While 25 Pa.C.S.A. § 1327(a)(1) directs the “secretary” to prescribe the form

for the official “voter registration application” leaving the design of the application to the

discretion of the secretary, the law also includes mandatory language regarding necessary

contents of that application. Under both 25 Pa.C.S.A. § 1323(b)(3) and 25 Pa.C.S.A. § 1327(a)

the secretary of transportation is obliged to create and provide a voter registration application

that incudes space for, inter alia, the applicants (i) full name; (ii) address of residence; (iii)

mailing address; (iv) name and residence address of previous registration; (v) designation of

political party; (vi) date of birth; (vii) telephone number; (viii) race.

        126.   Furthermore, the official voter registration application must contain a

registration declaration and “the applicant” is required to affirm the information provided

under penalty of perjury. See 25 Pa.C.S.A. § 1327(b)(2)(ii)(B) and 25 Pa.C.S.A. § 1327(b)(4).

        127.   Pennsylvania jurisprudence requires that fundamental policy choices involved

in legislative power actually be made by the legislature as constitutionally mandated. This

constraint serves two purposes. First, it ensures that duly authorized and politically


                                                   21
        Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 22 of 39



responsible officials make all of the necessary policy decisions, as is their mandate per the

electorate. And second, it seeks to protect against the arbitrary exercise of unnecessary and

uncontrolled discretionary power.

       128.    Governor Shapiro's directive to the Pennsylvania Department of

Transportation, and its implementation, is inconsistent with existing laws, and as such, is not

legally authorized.

       129.    Although “the secretary [of transportation]” was given the task of

“implementing and enforcing” the driver's license voter registration system, the legislature

clearly mandated that a voter register through an application process. 25 Pa.C.S.A. § 1323.

       130.    According to Merriam-Webster Dictionary, the term “implement” is defined as

to carry out or to accomplish. It does not mean to change or modify — but simply put into

practice the lawfully enacted decisions made by the Pennsylvania legislature.

       131.    Where provisions of a statute are unambiguous, the agency charged with

administering cannot amend statutory provisions through interpretation.

       132.    The state legislature, in its deliberative process, has in fact opted to not pass a

regulatory scheme that mirrors what Governor Shapiro has attempted to do by fiat. Through

the years, several bills establishing automatic voter registration have been introduced in the

proper body of government for those policy considerations, but on each occasion, the

proposal failed in the deliberative body of the Pennsylvania legislature.

       133.    Most recently, in January 2023, PA State Senator Hughes introduced Senate

Bill 40 Amending Title 25 Elections of the PA Consolidated Statutes in an effort to enact

automatic voter registration. (Exhibits D and E) Like similar bills in prior legislative sessions,

the bill failed because the legislature representing the citizens of Pennsylvania did not support

                                                22
        Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 23 of 39



automatic voter registration.

        134.   Governor Shapiro circumvented the rights and authority of the legislators and

violated the U.S. Constitution and the Pennsylvania Constitution.

        135.   Governor Shapiro's automatic voter registration is not legally authorized by any

state law.

        136.   Pennsylvania state legislators have, through proper legislative acts, declined to

pass a law authorizing automatic voter registration in Pennsylvania.

        137.   Governor Shapiro does not have the power to regulate the time, place, and

manner of elections.

        138.   Governor Shapiro's edict instituting automatic voter registration in

Pennsylvania is inconsistent with existing Pennsylvania law.

  Secretary of Commonwealth Al Schmidt, Deputy Secretary for Elections Jonathan
                      Marks, and the Department of State

        139.   Al Schmidt, the Secretary of the Commonwealth, acting through the

Pennsylvania Department of State and Deputy Secretary for Elections Jonathan Marks

(collectively, “Department of State”), issues “guidance” and “directives” that usurp the

legislature’s authority including a 2018 “Directive Concerning HAVA-Matching Drivers’

Licenses or Social Security Numbers For Voter Registration Applications.” (Exhibit B) See

https://www.dos.pa.gov/VotingElections/OtherServicesEvents/Documents/HAVA%20M

atching %20Directive%202018.pdf (last visited: Jan. 20, 2024).

        140.   This guidance, issued by the Department of State, directs Pennsylvania

counties to register applicants even if an applicant provides invalid identification.

        141.   Based on the Department of State’s directive, if an applicant simply affirms



                                                23
        Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 24 of 39



that they meet the age, citizenship, and the residency requirements to become a qualified

elector, the applicant must be registered — regardless of verification of identity.

        142.    The Department of State’s Directive specifically states:

                Counties must ensure their procedures comply with state and federal
                law, which means that if there are no independent grounds to reject a
                voter registration application other than a non-match, the application
                may not be rejected and must be processed like all other applications.

       143.     This directive is in direct contravention of clearly established Pennsylvania law,

which requires verification of both identity and eligibility.

       144.     25 Pa.C.S.A. § 1328(a)(1) and (2)(i) and (ii) relating to the “Approval of

Registration Applications” (Exhibit A) states:

                (a)    Examination.—Upon receiving a voter registration application, a
                       commissioner, clerk or registrar of a commission shall do all of
                       the following:
                       (1)     Initial and date the receipt of the application.
                       (2)     Examine the application to determine all of the following:
                               (i)      whether the application is complete.
                               (ii)     whether the applicant is a qualified elector.

       145.     Under Pennsylvania law, an application must be rejected if incomplete or

inconsistent.

       146.     25 Pa.C.S.A. § 1328(b) (Exhibit A) specifically states:

                (b)    Decision.—A commission shall do one of the following:
                       (1)    Record and forward a voter registration application to the
                              proper commission if the commission finds during its
                              examination under subsection (a) that the applicant does
                              not reside within the commission’s county but resides
                              elsewhere in this Commonwealth.
                       (2)    Reject a voter registration application, indicate the
                              rejection and the reasons for the rejection on the
                              application and notify the applicant by first class
                              nonforwardable mail, return postage guaranteed of the
                              rejection and the reason if the commission finds during its
                              examination under subsection (a) any of the following:

                                                 24
        Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 25 of 39



                              (i)    the application was not properly completed and
                                     after reasonable efforts by the commission to
                                     ascertain the necessary information, the
                                     application remains incomplete or inconsistent.
                              (ii)   The applicant is not a qualified elector.

       147.      As mentioned above, the U.S. Constitution (under the Elections Clause, the

Electors Clause, and the 10th Amendment) and the Pennsylvania Constitution, taken together

place plenary regulatory authority over both federal and state elections within the

commonwealth in the state legislature, subject only to Congressional enactment as to time,

place, manner.

       148.      The lawful extent of authority that may be exercised by Secretary Schmidt and

the Department of State in election regulation starts and stop with that which the state

legislature has delegated to that office through duly enacted legislation.

       149.      But, here, Secretary Schmidt and the Department of State not only assume

authorities not delegated or assigned to that office, they also have directed the explicit

violation of Pennsylvania election regulations.

       150.      When the Department of State unilaterally issued guidance to Pennsylvania

counties, directing the counties to register voters regardless of whether the driver’s license

numbers or the last four digits of the social security number match the records of PennDOT

or the records of the Social Security Administration, thus eliminating any requirement for

verification or confirmation of identity for new voters, it violated federal and state law.

       151.    In its illegal directive, the Department of State relies on a misinterpretation of a

district court case from the state of Washington as the justification for its overreach. See

Washington Association of Churches v. Reed, 492 F.Supp 2d 1264 (W.D. Wash. 2006).

       152.    According to Washington Association of Churches, if the state is unable to match an

                                                25
        Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 26 of 39



applicant’s driver's license or social security number, then the applicant “shall be

provisionally registered to vote.” Id. See Stipulated Final Order and Judgment of March 15,

2007, Paragraph (1)(c). (Exhibit C)

        153.   The Department of State’s directive requires counties to process incomplete

and inconsistent applications “like all other applications” and register the applicants with

invalid identification. In effect, the Department of State’s directive selectively ignores the

provisional registration remedy that was central to the Washington Association of Churches Court’s

analysis, and directs county election officials to fully approve incomplete and inconsistent

voter registration applications in spite of the electoral safety measures put in place by the

Pennsylvania legislature.

        154.   The Department of State’s attempt to circumvent state and federal law through

this directive is a per se violation of the legislators’ federal rights under the Electors Clause and

the Elections Clause because the state legislators are not and were not involved. Their

opportunity to deliberate and vote on such policy matters, whether in support or rejection of

such a registration regulatory shift was preempted by the unchecked executive action taken by

Secretary Schmidt and the State Department.

        155.   The directive, unilaterally issued by the Department of State to Pennsylvania

counties undermines the state legislature as “the entity assigned particular authority by the

Federal Constitution” to regulate the times, places, and manner of Presidential and

Congressional elections.

        156.   The directive, unilaterally issued through the Department of State to

Pennsylvania counties, directing the counties to process incomplete or inconsistent voter

registration applications like all other applications violates clear provisions of Pennsylvania

                                                 26
         Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 27 of 39



law.

        157.   Accordingly, the Department of State’s “Directive Concerning HAVA-

Matching Drivers’ Licenses or Social Security Numbers for Voter Registration Applications”

attempting to regulate the registration of Pennsylvania electors is unlawful. This directive

nullifies the state legislators’ power to enact laws, subject to the Governor’s veto power,

regarding the regulation of the times, places, and manner of federal elections.

                                       Plaintiff Standing

        158.   Plaintiffs have standing under applicable federal statutes and rules of civil

procedure to seek a declaratory judgment and related injunctive relief.

        159.   Defendants are responsible for the enforcement of duly enacted laws

governing all elections, including federal elections.

        160.   Plaintiffs, as state legislators are injured by Defendants when they exercise

positive regulatory authority over election practices that circumvent or usurp the authority of

the legislature.

        161.   Defendants support and enforce directives that violate the Electors Clause, the

Elections Clause, the 10th Amendment, and the Pennsylvania Constitution because such

directives are not law and are legally null and void under the Electors Clause and Elections

Clause when they directly or indirectly regulate federal elections.

        162.   By directing and effectuating their respective election regulation schema, each

Defendant has established, operated, and enforced undeliberated election policy, and each

plaintiff has been denied the opportunity to exercise their constitutionally vested authority to

cast their legislative vote on affirming or rejecting those new regulatory regimes.

        163.   Plaintiffs have individual legislator standing under the both the U.S. and

                                                27
         Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 28 of 39



Pennsylvania Constitutions and federal and state law to challenge usurpation of state

legislative powers.

         164.   Plaintiffs, as state legislators have federal civil rights under the Electors Clause

and the Elections Clause, to oversee and participate in making legislative decisions regulating

the times, places, and manner of federal elections.

         165.   Under the Elections Clause, but not the Electors Clause, Congress can enact

federal laws preempting state legal provisions regulating the times, places and manner of

federal elections.

         166.   But, Congressional enactments are the only exception in the Elections Clause

to the state legislators’ federal rights to oversee and participate in making legislative decisions

regulating the times, places and manner of federal elections.

         167.   Taken together, the 10th Amendment and the Pennsylvania Constitution vest

all remaining election regulatory authority not contemplated by the Electors Clause and

Elections Clause, in the state legislature.

         168.   Plaintiffs who draft, author, and support bills for passage in the state legislature

are injured because by each of the Defendants for their respective usurpation of legislative

power.

         169.   Plaintiffs are also candidates on the ballot who will be impacted by the legally

unauthorized changes made to the regulation of voter registration by each Defendant for

their respective usurpation of legislative power.

         170.   Plaintiffs have a distinct interest in the free, fair, and legal operation of these

elections.

         171.   Each Plaintiff stands to suffer the particularized harm of competing in

                                                  28
        Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 29 of 39



elections that have been interfered with by unlawful regulations.

       172.    Each Plaintiff stands to suffer the particularized harm of competing in

elections where their opponents have been provided an unlawful advantage.

       173.    Furthermore, as candidates, the Plaintiffs have a vested interest in an election

process free from negligence, fraud, or abuse—a process that starts with voter registration.

       174.    Plaintiffs likewise have standing as voters to bring this lawsuit as Defendants

cause injury by unnecessarily burdening Plaintiffs' voting rights when they supervise, fund, or

otherwise support statewide illegal directives regarding voter registration applications.

       175.    Plaintiffs also have taxpayer standing to bring this lawsuit because Defendants

use taxpayer funds to support and enforce unconstitutional directives which govern federal

elections without legislative involvement.

                               COUNT I
               DECLARATORY AND INJUNCTIVE RELIEF AGAINST
                        EXECUTIVE ORDER 14019

        176.   Plaintiffs hereby incorporate by reference the above paragraphs as if fully

restated herein.

        177.   The Plaintiffs seek a declaratory judgment that Executive Order 14019 is

unconstitutional under the Electors and Elections Clauses, and injunctive relief prohibiting its

adoption by agencies under the control of President.

        178.   The executive action taken by the President, nullifies the votes of the individual

legislators, nullifies the enactment of the Legislature, violates the Electors Clause, violates the

Elections Clause, deprives the legislators of their particular rights, and jeopardizes candidates’

rights to an election free from fraud and abuse.

        179.   The legislators have suffered and continue to suffer an injury-in-fact because

                                                29
        Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 30 of 39



the Executive Order denies them a voting opportunity to which the Constitution entitles

them.

        180.   The injury is traceable to the President’s conduct because he has taken actions

to impact the conduct of his own election and in doing so has denied the legislators their

Constitutional rights.

        181.   The injury can only be redressed by a favorable judicial decision which restores

their authority to determine the manner of elections in the Commonwealth.

        182.   President Biden’s Executive Order 14019 gives agencies the ability to select

third-party organizations, using unappropriated taxpayer funding, to register voters, distribute

vote-by-mail ballots, and engage in get out the vote activities.

        183.   The Pennsylvania Constitution provides that the legislative power is vested in

the senate and the house of representatives. Pa. Const., Art. II, Sec. 1.

        184.   The Pennsylvania Constitution vests the legislative power in the state senate

and the house of representatives to regulate the registration of electors in Pennsylvania. Pa.

Const., Art. VII, Sec. 1.

        185.   Therefore, under the Electors Clause, Elections Clause and the Pennsylvania

Constitution, the Pennsylvania state legislature, defined as senate and house of

representatives, has the exclusive authority to enact laws, subject to the Governor’s veto to

regulate the times, places, and manner of Presidential and Congressional elections.

        186.   Accordingly, President Biden’s Executive Order 14019 attempting to regulate

the registration of Pennsylvania electors is unlawful. The order should not be permitted to

nullify the state legislators’ power to enact laws, subject to the Governor’s veto power,

regarding the regulation of the times, places, and manner of federal elections.

                                                30
          Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 31 of 39



          187.   Plaintiffs, as state legislators, have federal rights under the Electors Clause and

the Elections Clause to oversee and participate in making legislative decisions regulating the

times, places and manner of Presidential and Congressional elections.

          188.   Defendant Biden caused injury to Plaintiffs with his Executive Order No.

14019 changing Pennsylvania election law, which usurps the state legislature’s powers and

violates the state legislators’ federal civil rights under the Electors Clause and the Elections

Clause.

          189.   A controversy exists between Plaintiffs and Defendants on the issue of

whether President Biden’s Executive Order 14019 involving the regulating of registration of

Pennsylvania electors is a legally valid regulation of federal elections. The implementation and

effect of the Executive Order is ongoing. Moreover, if permitted to stand, similar executive

orders can be signed in the future, hence, the controversy is continuing.

          190.   As candidates, Plaintiffs are on the ballot who will be impacted by the legally

unauthorized changes made by President Biden.

          191.   As voters, Defendant President Biden caused injury by unnecessarily burdening

Plaintiffs’ voting rights when he signed Executive Order 14019 giving federal agencies and

third-party organizations unprecedented power to make changes unilaterally and illegally to

the manner of elections in Pennsylvania.

          192.   As taxpayers, the Plaintiffs also have standing as Defendants use taxpayer

funds to support and enforce his unconstitutional executive order governing federal elections,

without legislative involvement.

          193.   Based on the foregoing, Plaintiffs seek prospective declaratory and injunctive

relief.

                                                  31
        Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 32 of 39



                                      COUNT II
                      ADMINISTRATION PROCEDURE ACT
       (Substantively Arbitrary and Capricious, Abuse of Discretion, Contrary to
                                Constitution or Statute)

       194.    Plaintiffs hereby incorporate by reference the above paragraphs as if fully

restated herein.

       195.    The Plaintiffs believe, upon information and belief, the following Defendants

have implemented the EO: DOS; DOA; DOE; DOEd; HHS and HUD.

       196.    Upon information and belief, the following federal agencies have implemented

the EO; however, Section 3(b) of the EO, in contravention of Article IV of the Constitution,

the NVRA, and HAVA, that “[w]ithin 200 days of the date of this order, the head of each

agency shall submit to the Assistant to the President for Domestic Policy a strategic plan

outlining the ways identified under this review that the agency can promote voter registration

and voter participation: U.S. Treasury; U.S. Department of Defense; Department of Justice;

Department of the Interior; Department of Commerce; Department of Labor; Department

of Transportation; Department of Veterans Affairs; Department of Homeland Security; and

the Environmental Protection Agency.

       197.    All of the Defendant federal agencies either have a physical presence in the

state of Pennsylvania or maintain websites that affect the citizens of the State.

       198.    The Administrative Procedure Act (“APA”), 5 U.S.C. § 706(2), prohibits

federal agency action that is arbitrary, unconstitutional, and contrary to statute.

       199.    In implementing Executive Order 14019 the federal agencies have taken

unconstitutional and unlawful action, acted arbitrarily and capriciously, and otherwise not in

accordance with law, and have abused their discretion, in violation of the APA.



                                                32
          Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 33 of 39



          200.    Defendant federal agencies’ violation causes ongoing harm to the Plaintiffs.

          201.    Based on the foregoing, Plaintiffs seek prospective declaratory and injunctive

relief.

                                          COUNT III
                         ADMINISTRATION PROCEDURE ACT
                 (Procedurally Arbitrary and Capricious Notice and Comment)

          202.    Plaintiffs hereby incorporate by reference the above paragraphs as if fully

restated herein.

          203.    The APA, 5 U.S.C. §§ 553 and 706(2)(D), requires federal agencies to conduct

formal rule making before engaging in action that impacts substantive rights.

          204.    Defendants DHS, DOA, DHS, HUD, DOEd, and the DOE (collectively

“federal agencies”), are “agencies” under the APA. 5 U.S.C. § 551(1).

          205.    The actions that the federal agencies have taken to implement the EO are

“rules” under the APA. 5 U.S.C. § 551(4).

          206.    In implementing the EO, the federal agencies have changed the substantive

election procedures. The federal agencies did not follow the procedures required by the APA

before taking action impacting these substantive rights.

          207.    With exceptions that are not applicable here, agency rules must go through

notice-and-comment rulemaking. 5 U.S.C. § 553.

          208.    The federal agencies promulgated these rules without authority and without

notice-and-comment rulemaking in violation of the APA.

          209.    The Plaintiffs will be impacted because they have not had the opportunity to

comment on substantive election procedures.

          210.    The federal agencies’ violation causes ongoing harm to the Plaintiffs.

                                                  33
          Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 34 of 39



          211.   Based on the foregoing, Plaintiffs seek prospective declaratory and injunctive

relief.

                                       COUNT IV
      Governor’s Violations of the State Legislators’ Federal Rights Under the U.S.
                 Constitution’s Electors Clause and Elections Clause
                            —Claim Under 42 U.S.C. § 1983

          212.   Plaintiffs hereby incorporate by reference the above paragraphs as if fully

restated herein.

          213.   42 U.S.C. § 1983 confers a federal private right of action against any person

acting under the color of state law who inflicts a deprivation of any right, privilege, or

immunity secured by the U.S. Constitution.

          214.   Through 42 U.S.C. § 1983 Plaintiffs seek injunctive relief enjoining and

prohibiting Governor Shapiro’s automatic voter registration regime through the Pennsylvania

Department of Transportation as unconstitutional under the Electors and Elections Clauses.

          215.   The executive action taken by Governor Shapiro nullifies the votes and

diminishes the influence of the individual legislators, nullifies the enactments of the State

Legislature, violates the Electors Clause, violates the Elections Clause, deprives the legislators

of their particular rights in exercising constitutional powers specifically delegated to them, and

jeopardizes candidates’ rights to an election free from fraud and abuse.

          216.   Plaintiffs have suffered and continue to suffer an injury-in-fact because the

edict issued by Governor Shapiro denies the Plaintiffs a voting opportunity to the acceptance

of rejection of a voter registration schema that, under the U.S. and Pennsylvania

Constitutions can only originate in the Pennsylvania legislature or U.S. Congress.

          217.   Plaintiffs' injuries are not capable of being redressed by monetary damages.



                                                 34
        Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 35 of 39



       218.    The injury is traceable to the Governor’s conduct because he has assumed

authority particular assigned to the state legislators, demonstrably diminishing their

constitutionally vested authority.

       219.    The injury can only be redressed by a favorable judicial decision which restores

Plaintiffs’ authority to determine and establish the regulation of elections in the

Commonwealth.

                                     COUNT V
 Department of State’s Violations of the State Legislators’ Federal Rights Under the
            U.S. Constitution’s Electors Clause and Elections Clause
                          —Claim Under 42 U.S.C. § 1983

       220.    Plaintiffs hereby incorporate by reference the above paragraphs as if fully

restated herein.

       221.    42 U.S.C. § 1983 confers a federal private right of action against any person

acting under the color of state law who inflicts a deprivation of any right, privilege, or

immunity secured by the U.S. Constitution.

       222.    Through 42 U.S.C. § 1983 Plaintiffs seek injunctive relief enjoining and

prohibiting the Department of State’s “Directive Concerning HAVA-Matching Drivers’

License or Social Security Numbers for Voter Registration Applications” and similar guidance

as unconstitutional under the Electors and Elections Clauses.

       223.    The executive action taken by Secretary Schmidt nullifies the votes and

diminishes the influence of the individual legislators, nullifies the enactments of the State

Legislature, violates the Electors Clause, violates the Elections Clause, deprives the legislators

of their particular rights in exercising constitutional powers specifically delegated to them, and

jeopardizes candidates’ rights to an election free from fraud and abuse.



                                                35
        Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 36 of 39



       224.   Plaintiffs have suffered and continue to suffer an injury-in-fact because the

guidance issued by the Department of States denies the Plaintiffs a voting opportunity to the

acceptance of rejection of a voter registration schema that, under the U.S. and Pennsylvania

Constitutions can only originate in the Pennsylvania legislature or U.S. Congress.

       225.    The Department of State’s “Directive Concerning HAVA-Matching Drivers’

License or Social Security Numbers for Voter Registration Applications” established a

fundamentally new voter registration schema wherein applications with incomplete and

inconsistent voter registration applications are accepted. As a consequence, whereas a voter

registration application with incomplete or inconsistent information regarding the identity of

the applicant would otherwise be rejected in conformity with state law, under the Department

of State’s directive such applications are accepted. This directive fundamentally creates a new

voter registration schema by executive fiat outside the deliberative process required under the

U.S. and Pennsylvania constitution.

       226.    The Department of State’s directive has individually deprived each Plaintiff of

their U.S. constitutional right to vote on and direct election policy, established under both the

Elections Clause and Electors Clause.

       227.   A controversy exists between Plaintiffs and Defendant Schmidt and Defendant

Pennsylvania Department of State on whether the Department of State’s “Directive

Concerning HAVA-Matching Drivers’ License or Social Security Numbers for Voter

Registration Applications” is legally valid. The implementation of the Directive is ongoing.

Moreover, if permitted to stand, similar executive action can be expected to further usurp

Plaintiffs’ authority in the future, and so in both regards, the controversy is continuing.

       228.   Plaintiffs' injuries are not capable of being redressed by monetary damages.

                                               36
        Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 37 of 39



       229.    The injury is traceable to Secretary Schmidt’s and the Department of State’s

conduct because he, and the Department of State, have assumed authority particular assigned

to the state legislators, demonstrably diminishing their constitutionally vested authority.

       230.    The injury can only be redressed by a favorable judicial decision which restores

Plaintiffs’ authority to determine and establish the regulation of elections in the

Commonwealth.

                                   PRAYER FOR RELIEF

       For the reasons stated in this complaint, the Plaintiffs, Pennsylvania Legislators,

request that this Court grant the following relief:

1.     Enter prospective declaratory and injunctive relief, including holding and setting aside

       Executive Order 14019, pursuant to 5 U.S.C. § 706, because Executive Order 14019 is

       (A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

       law; (B) contrary to constitutional right, power, privilege, or immunity; (C) in excess

       of statutory jurisdiction, authority, or limitations, or short of statutory right; and (D)

       without observance of procedure required by law.

2.     Enter a declaratory judgment that the edict or announcement by Governor Shapiro

       for the regulation of times, places, and manner of federal elections is unconstitutional

       and violates the Electors Clause and the Elections Clause because the state legislature's

       approval and the state legislators' participation are required.

3.     Issue an order granting injunctive relief enjoining Defendants Shapiro, Schmidt, or

       Marks from any actions funding, supporting, or facilitating the edict or announcement

       regarding automatic voter registration as it violates the Electors and Elections Clause

       and Art. VII, Section 1 of the Pennsylvania Constitution which gives the General

                                                37
       Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 38 of 39



      Assembly the power to “regulate the registration of electors.”

4.    Enter a declaratory judgment that the directive issued by the Department of State in

      2018 regarding the verification of the identity and eligibility of Pennsylvania voters is

      unconstitutional, violates the legislators’ federal rights, and violates established laws;

      and,

5.    Issue an order granting injunctive relief enjoining Defendants Shapiro, Schmidt, or

      Marks from any actions funding, supporting, or facilitating the “Directive Concerning

      HAVA-Matching Drivers’ Licenses or Social Security Numbers for Voter Registration

      Applications” as this directive violates the Electors and Elections Clause and Art. VII,

      Section 1 of the Pennsylvania Constitution which gives the General Assembly the

      power to “regulate the registration of electors...”

6.    Issue a declaratory judgment that Plaintiffs have prevailed on their 42 U.S.C. § 1983

      claims;

7.    Grant Plaintiffs their reasonable attorney fees, costs, and expenses incurred and

      authorized under 42 U.S.C. § 1988 and other applicable laws; and

8.    Grant such other and further relief as is just and appropriate.



 Dated: February 16, 2024                        /s/Erick Kaardal
                                                 By: Erick G. Kaardal (MN No. 229647)
                                                 Mohrman, Kaardal & Erickson, P.A.
                                                 150 South Fifth Street, Suite 3100
                                                 Minneapolis, Minnesota 55402
                                                 (612) 341-1074
                                                 kaardal@mklaw.com




                                               38
      Case 1:24-cv-00147-JPW Document 18 Filed 02/16/24 Page 39 of 39



Dated: February 16, 2024              /s/Karen DiSalvo
                                      By: Karen DiSalvo (PA No. 80309)
                                      Mohrman, Kaardal & Erickson, P.A.
                                      Election Research Institute
                                      1451 Quentin Road, Suite 232
                                      Lebanon, PA 17042
                                      717-281-1776
                                      kd@election-institute.com


                                      Richard P. Lawson
                                      Jessica H. Steinmann
                                      Jase Panebianco
                                      Patricia Nation
                                      AMERICA FIRST POLICY INSTITUTE
                                      1001 Pennsylvania Ave., NW, Suite 530
                                      Washington, DC 20004
                                      813-952-8882
                                      rlawson@americafirstpolicy.com
                                      jsteinmann@americafirstpolicy.com
                                      jpaenbianco@americafirstpolicy.com
                                      pnation@americafirstpolicy.com




                                    39
